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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               1/11/2021
                                                                       :
MIGUEL RIVERA,                                                         :
                                                                       :
                                    Plaintiff,                         :
                                                                       :      20-cv-1284 (LJL)
                  -v-                                                  :
                                                                       :          ORDER
NAVIENT SOLUTIONS, LLC,                                                :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        For the reasons stated on the record at the January 8, 2021 conference, Plaintiff’s motion

at Dkt. No. 24 is GRANTED. The Court will refer the parties to the Magistrate Judge for

settlement by separate order.


        SO ORDERED.


Dated: January 11, 2021                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
